                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                                   SOUTIIERN DMSION
                                    No. 7:15-CR-98-D-1



    UNITED STATES OF AMERICA                     )
                                                 )
                                                 )
/                      v.                        )              ORDER
                                                 )
    RYAN ROBERT AUGHENBAUGH,                     )
                                                 )
                              Defendant.         )


           On May 22, 2020, Ryan Robert Aughenbaugh ("Aughenbaugh" or "defendant'') moved for

    compassionate release under the First Step Act ("First Step Act"), Pub. L. No. 115-391, § 603(b),

    132 Stat. 5194, 5238-41 (2018) (codified as amended at 18 U.S.C. § 3582) and filed a memorandum

    in support [D.E. 87, 90]. On September 30, 2020, the United States responded in opposition [D.E.

    92]. As explained below, the court denies Aughenbaugh's motion.

                                                     I.

           On September 12, 2016, pursuant to a written plea agreement, Aughenbaugh pleaded guilty

    to bank fraud. See [D.E. 58]. On December 14, 2016, the court held a sentencing hearing and

    adopted the facts set forth in the Presentence Investigation Report ("PSR"). See [D.E. 63, 66, 68];

    Fed. R. Crim. P. 32(i)(3)(A}-(B). The court calculated Aughenbaugh's total offense level to be 9,

    his criminal history category to be VI, and his advisory guideline range to be 21 to 27 months'

    imprisonment. See [D.E. 68]. After thoroughly considering all relevant factors under 18 U.S.C. §

    3553(a), the court sentenced Aughenbaugh to 24 months' imprisonment. See [D.E. 67] 2.

    Aughenbaugh did not appeal.




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         )
       On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP") could file a

motion for compassionate release. Under the First Step Act, a sentencing court may modify a

sentence of imprisonment either upon a motion of the Director of the BOP "or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure of the

[BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such

a request by the warden ofthe defendant's facility, whichever is earlier." 18 U.S.C. § 3582(c)(1 )(A).

       After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

"extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

not a danger to the safety of another person or the community. Id. In deciding to reduce a sentence

undersection3582(c)(l)(A), acourtmustconsultthe sentencing factors in 18 U.S.C. § 3553(a) and

must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

States Sentencing Commission (the "Commission"). Id.

       The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

parrots section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

application notes provide examples ofextraordinary and compelling reasons, including: (A) serious

medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

deterioration in physical and mental health due to aging and having served at least 10 years or 75%

of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another




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extraordinary and compelling reason. See U.S.S.G. § lBl.13 cmt. n.1.1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia.

                       (ii) The defendant is---

                             (1) suffering from a serious physical or medical condition,

                             (II) suffering from a serious functional or cognitive impairment,
                                  or

                             (Ill) experiencing deteriorating physical or mental health because
                                   of the aging process,

                            that substantially djminhmes the ability of the defendant to
                            provide self-care within the environment of a correctional facility
                            and from which he or she is not expected to recover.

                 (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii)
                      is experiencing a serious deterioration in physical or mental health
                      because ofthe aging process; and (iii) has served at least 10 years or 75
                      percent of his or her term of imprisonment, whichever is less.

                 (C) Family Circumstances.-

                      (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                          child or minor children.

                      (ii) The incapacitation of the defendant's spouse or registered partner
                         when the defendant would be the only available caregiver for the
                         spouse or registered partner.

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that "an extraordinary and compelling reason need not have been unforeseen at the time of

sentencing to warrant a reduction in the term of imprisonment." U .S.S.G. § lB 1.13 cmt. n.2. Thus,

the fact ''that an extraordinary and compelling reason reasonably could have been known or

anticipated by the sentencing court does not preclude consideration for a reduction under this policy

statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of the

defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy

statement." U.S.S.G. § lBl.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

updated U.S.S.G. § lBl.13 to account for the First Step Act. Accordingly, section lBl.13 does not

provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

3582(c)(l)(A).     See, e.g.• United States v. McCoy, 981 F.3d 271, 28~4 (4th Cir. 2020).

Nevertheless, section lBl.13 provides informative policy when assessing an inmate's motion, but

a court independently determines whether "extraordinary and compelling reasons" warrant a sentence

reduction under 18 U.S.C. § 3582(c)(l)(A)(i). See id. at 284. In doing so, the court consults not

only U.S.S.G. § lBl.13, but also the text of 18 U.S.C. § 3582(c)(l)(A) and the section 3553(a)

factors. See,~ id. at 28~4; United States v. Jones, 980 F.3d 1098, 1101-03 (6th Cir. 2020);

United States v. Gunn, 980 F.3d 1178, 118~1 (7th Cir. 2020); United States v. Ruffin, 978 F.3d

 1000, 1007-08 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228, 237-38 (2d Cir. 2020);




                 (D) Other Reasons.--As determined by the Director of the Bureau of
                     Prisons, there exists in the defendant's case an extraordinary and
                     compelling reason other than, or in combination wi~ the reasons
                     described in subdivisions (A) through (C).

U.S.S.G. § lBl.13 cmt. n.1.

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United States v. Clark, No. 1:09cr336-1, 2020 WL 1874140, at *2 (M.D.N.C. Apr. 1S, 2020)

(unpublished).

           As for Aughenbaugh's request for compassionate release, Aughenbaugh has exhausted his

administrative requirements. Specifically, on May 26, 2020, Aughenbaugh submitted a request for

compassionate release to the BOP. See [D.E. 90-4] 1. On June 24, 2020, the BOP denied

Aughenbaugh's request. See id. at 2. As such, and as the government concedes, Aughenbaugh has

satisfied the requirements of 18 U.S.C. § 3S82(c)(l)(A). See [D.E. 90] 3; [D.E. 92] 4.

           Aughenbaugh seeks compassionate release pursuant to section 3S82(c)(1 )(A). In support of

his request, Aughenbaugh cites the COVID-19 pandemic, injuries to his liver and lungs from an

assault that required blood transfusions and a ventilator, and mental illnesses, including Attention

Deficit/Hyperactivity Disorder, Mood Disorder, Depression, Anxiety, Provisional Disturbance of

Emotion/Conduct, and Personality Disorder/Psychosocial/Relational Problems with Peer Focus.

See [D.E. 90] 1-2, S-9. Aughenbaugh also cites his rehabilitation efforts and release plan. See id.

at 6--8.

           As for the medical condition ofthe defendant policy statement, the policy statement requires

that the defendant is "suffering from a serious physical or medical condition ... from which he or

she is not expected to recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). Although Aughenbaugh states

that he suffered liver and lung injuries and suffers from mental illnesses, he has not demonstrated

that he is not going to recover from these conditions or that they cannot be treated while

Aughenbaugh serves his sentence. Accordingly, reducingAughenbaugh's sentence is not consistent

with application note l(A). See 18 U.S.C. § 3S82(c)(l)(A).

           As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic, Aughenbaugh' s physical and mental health conditions, rehabilitation efforts,

                                                    s
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and release plan are extraordinary and compelling reasons under section 3S82(c)(1 )(A). Cf. United

States v. Rail!, 9S4 F.3d S94, S97 (3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and

the possibility that it may spread to a particular prison alone cannot independently justify

compassionate release, especially considering BOP's statutory role, and its extensive and

professional efforts to curtail the virus's spread."). Even so, the section 35S3(a) factors counsel

against reducing Aughenbaugh's sentence. See United States v. Chambliss, 948 F.3d 691, 693-94

(5th Cir. 2020); Clark, 2020 WL 1874140, at *3-8.

       Aughenbaugh is 27 years old and engaged in very serious criminal behavior during January

and February 201S. See PSR [D.E. 63] ft 6-9. Aughenbaugh's offense conduct included opening

fraudulent bank accounts and cashing fraudulent checks. See id. Aughenbaugh generated an

intended loss of $77,733.02. See id. Aughenbaugh is also a recidivist's recidivist with numerous

convictions, including for possession of a fortified wine, liquor, or malt beverage under age 21,

possession ofdrug paraphernalia, harassing phone call, inbaHng toxic vapors, larceny (eight counts),

second degree trespassing, breaking into a coin or currency machine, breaking and entering (two

counts), forgery of an instrument, injury to personal property, carrying a concealed weapon,

consuming alcohol by a person age 19 or 20, breaking or entering a motor vehicle (eight counts),

assault on a government official or employee, simple assault, possession of a firearm by a felon, and

larceny after breaking and entering. See id. ft 14-30. Aughenbaugh also has performed poorly on

supervision. See id.   ft 14-1S, 17-20, 22, 24, 26-28.    Although Aughenbaugh has taken some

positive steps while incarcerated, he has been sanctioned for serious misconduct, including three

assaults, three instances of fighting, and destruction of property. See [D.E. 90] 7; [D.E. 92-3] 1-2.

The court also has considered Aughenbaugh's potential exposure to COVID-19, his physical and

mental health conditions, and his release plan. Cf. Pqmer v. United States, S62 U.S. 476, 480-81

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               '
(2011 ). Having considered the entire record, the steps that the BOP has taken to address COVID-19

and treat Aughenbaugh, the section 35S3(a) factors, Aughenbaugh's arguments, the government's

persuasive response, and the need to punish Aughenbaugh for his crimjna1 behavior, to incapacitate

Aughenbaugh, to promote respect for the law, to deter others, and to protect society, the court

declines to grant Aughenbaugh's motion for compassionate release. See,~ Chavez-Meza v.

United States, 138 S. Ct. 19S9, 1966--68 (2018); RY:ffin, 978 F.3dat 1008--09; Chambliss, 948 F.3d

at 693-94; United States v. Hill, No. 4:13-CR-28-BR, 2020 WL 20S51S, at *2 (E.D.N.C. Jan. 13,

2020) (unpublished).

       As for Aughenbaugh's request for home confinement, Aughenbaugh apparently seeks relief

under the CARES Act. See [D.E. 87] 1; [D.E. 90] 8-9. The CARES Act does not provide this court

with the authority to grant home confinement. See United States v. Brummett, No. 20-S626, 2020

WL S52S871, at *2 (6th Cir. Aug. 19, 2020) (unpublished) ("[T]he authority to grant home

confinement remains solely with the Attorney General and the BOP."); United States v. McCoy. No.

3:19-CR-3S-KDB-DCK,2020WLSS3S020,at*l (W.D.N.C. Sept.1S,2020)(unpublished);United

States v. Gray, No. 4:12-CR-S4-FL-l, 2020 WL 1943476, at *3 (E.D.N.C. Apr. 22, 2020)

(unpublished). As such, the court dismisses Aughenbaugh's request for home confinement.

                                               II.

       In sum, the court DENIES Aughenbaugh's motion for compassionate release [D.E. 87] and

DISMISSES his request for home confinement.

       SO ORDERED. This IL, day of January 2021.




                                                         : J S C. DEVER ill
                                                         United States District Judge

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